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     Exhibit “A”
       Case
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN ENVIRONMENTAL                       :
ENTERPRISES, INC., d/b/a                     :
THESAFETYHOUSE.COM                           :
                                             :      CIVIL ACTION
                      Plaintiff,             :
                                             :      No. 2022-cv-00688 (JMY)
       v.                                    :

MANFRED STERNBERG, ESQUIRE, :
and MANFRED STERNBERG &        :
ASSOCIATES, PC, and CHARLTON :
HOLDINGS GROUP, LLC, and       :
SAMUEL GROSS a/k/a SHLOMO      :
GROSS, and GARY WEISS,         :
and ASOLARDIAMOND, LLC a/k/a, :
ASOLAR. LLC, and DAPHNA        :
ZEKARIA, ESQUIRE, and SOKOLSKI :
& ZEKARIA, P.C.                :
                               :
                 Defendants.   :

       ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL DISCOVERY
       FROM DEFENDANTS DAPHNA ZEKARIA, ESQUIRE, and SOKOLSKI &
               ZEKARIA, P.C. , AND AWARDING SANCTIONS

       AND NOW, this 1st day of April 2024, upon consideration of the Motion to Compel

Discovery From Defendants Daphna Zekaria, Esquire and Sokolski & Zekaria, P.C., (the

“Zekaria Defendants”), and for Sanctions, by reason of the Third Party Defendants’ refusal and

failure to comply with the Rules of Court governing discovery (the “Motion”), pursuant to Rules

33 and 34 and 37 of the Federal Rules of Civil Procedure, filed by plaintiff American

Environmental Enterprises, Inc., d/b/a THE SAFEEYHOUSE.COM (“Plaintiff”), and upon further

reconsideration of any responses to the Motion filed by the Zekaria Defendants, and for good cause

shown therefor, it is ORDERED as follows:

       1.      The Motion is GRANTED.
       Case
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       2.      Within ten (10) days of the date hereof, each of the Zekaria Defendants shall deliver

to Plaintiff full and complete verified answers to Plaintiff’s Interrogatories Addressed to them,

without objections.

       3.      Within ten (10) days of the date hereof, each of the Zekaria Defendants shall

produce and deliver to Plaintiff their written responses together with all documents responsive to

Plaintiff’s Requests for Production of Documents addressed to them, without objections.



                                                     BY THE COURT:

                                                       /s/ John Milton Younge
                                                     John M. Younge,        U.S.D.J.
